                                                                                                  DISTRICT OF OREGON
                                                                                                       FILED
                                                                                                    November 08, 2023
                                                                                                Clerk, U.S. Bankruptcy Court

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 2        Below is an order of the court.

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                                                                                 _______________________________________
 7                                                                                         PETER C. McKITTRICK
                                                                                           U.S. Bankruptcy Judge
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 9
10                         IN THE UNITED STATES BANKRUPTCY COURT

11                                            DISTRICT OF OREGON

12    In re                                                         )   Case No. 23-32366-pcm11
                                                                    )
13    Local 8, International Longshoremen’s and                     )   ORDER APPROVING DEBTOR’S
      Warehousemen’s Union,                                         )   PRECAUTIONARY MOTION TO
14                                                                  )   EXTEND TIME TO SUPPLEMENT CASE
                          Debtor.                                   )   MANAGEMENT DOCUMENTS
15                                                                  )
                                                                    )
16                                                                  )
                                                                    )
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              This motion came before the Court on the Debtor’s Precautionary Motion to Extend Time
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     to Supplement Case Management Documents (the “Motion”) filed on November 2, 2023. Based
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     on the Court’s review of the Motion, and all pleadings and evidence of record in this case:
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     Page 1 of 2 – ORDER APPROVING DEBTOR’S PRECAUTIONARY MOTION TO
     EXTEND TIME TO SUPPLEMENT CASE MANAGEMENT DOCUMENTS
                                              SUSSMAN SHANK LLP, ATTORNEYS AT LAW
                                    1000 SW BROADWAY, SUITE 1400, PORTLAND, OREGON 97205-3089
                                          TELEPHONE (503) 227-1111 | FACSIMILE (503) 248-0130
                           Case 23-32366-pcm11                   Doc 43         Filed 11/08/23
 1            IT IS ORDERED:

 2            The Motion is GRANTED.

 3                                                        ###

 4   PRESENTED BY:

 5   SUSSMAN SHANK LLP
 6
     /s/ Susan S. Ford
 7   _____________________________
     Susan S. Ford, OSB No. 842203
 8   Thomas W. Stilley, OSB No. 883167
     Joshua G. Flood, OSB No. 223085
 9
     sford@sussmanshank.com
10   tstilley@sussmanshank.com
     jflood@sussmanshank.com
11     Proposed Attorneys for Debtors and Debtors-in-Possession

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     26933-002 (04349340)
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